                  Case 25-10671-KHK                  Doc           Filed 05/29/25 Entered 05/29/25 11:43:04                            Desc Main
 Fill in this information to identify the case:
                                                                   Document      Page 1 of 3
 Debtor 1                  John Paul Pelaez

 Debtor 2
 (Spouse, if filing)
 United States Bankruptcy Court for the:         Eastern    District of              Virginia
                                                                                      (State)
 Case number                                   25-10671




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                         12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy f iling that you
assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:                 U.S. Bank National Association                                Court claim no. (if known):            4-1

Last four digits of any number you use to
identify the debtor's account:                                                1598

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

                No
                Yes. Date of the last notice:                            .

 Part 1:               Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an
 amount, indicate that approval in parentheses after the date the amount was incurred.

             Description                                                                         Dates incurred                                 Amount
 1.          Late charges                                                                                                               (1)
 2.          Non-sufficient funds (NSF) fees)                                                                                           (2)
 3.          Attorney fees                                                                                                              (3)
 4.          Filing fees and court costs                                                                                                (4)
 5.          Bankruptcy/Proof of claim fees                               Proof of Claim                                  04/27/2025    (5)        $200.00
 6.          Appraisal/Broker's price opinion fees                                                                                      (6)
 7.          Property inspection fees                                                                                                   (7)
 8.          Tax advances (non-escrow)                                                                                                  (8)
 9.          Insurance advances (non-escrow)                                                                                            (9)
 10.         Property preservation. Specify:                                                                                           (10)
 11.         Other. Specify:                                                                                                           (11)
 12.         Other. Specify:                                                                                                           (12)
 13.         Other. Specify:                                                                                                           (13)
 14.         Other. Specify:                                                                                                           (14)
 15.         Total post-petition fees, expenses, and charges. Add all of the amounts listed above.                                     (15)        $200.00


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1.




Official Form 410S2                           Notice of Postpetition Mortgage Fees, Expenses, and Charges                                        7223-N-0680
                                                                                                                                              NFC_122018_001
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                                                            Document      Page 2 of 3
Debtor 1                                    John Paul Pelaez                        Case Number (if known)                25-10671
                      First Name            Middle Name          Last Name




Part 2:     Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

 I am the creditor.

 I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.



/s/ Craig A. Edelman
Signature                                                                        Date    05/14/2025


Print          Craig A. Edelman                                                  Title   Authorized Agent for U.S. Bank National Association
                First Name          Middle Name           Last Name



Company        Bonial & Associates, P.C.


Address        14841 Dallas Parkway, Suite 350
               Number              Street

               Dallas, Texas 75254
               City                State                  ZIP Code



Contact phone          (972) 643-6600                        Email    POCInquiries@BonialPC.com




Official Form 410S2                   Notice of Postpetition Mortgage Fees, Expenses, and Charges                                         7223-N-0680
                                                                                                                                       NFC_122018_001
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                   CERTIFICATE OF SERVICE OF NOTICE OF FEES AND COSTS



  I hereby certify that a true and correct copy of the foregoing document has been filed with the court and
  served upon the following parties in interest on or before May 29, 2025 via U.S. Mail. All other parties
  in interest listed on the Notice of Electronic Filing have been served electronically.

  Debtor                              Via U.S. Mail
  John Paul Pelaez
  13631 Dulles Technology Dr
  Herndon, VA 20171




                                                        Respectfully Submitted,

                                                        /s/ Craig A. Edelman
                                                        Craig A. Edelman




  NOTICE OF FEES AND COSTS - CERTIFICATE OF SERVICE                                                7223-N-0680
                                                                                               COS2310_NFC000
